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                      EXHIBIT A

                     Time Records
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     Date       Banker                                                                                          Comments                             Hours     Category


  10/02/23      Sean Costello               Working team executive call with D. Ninivaggi, A. Kroll, E. Hightower re: case strategy                      1.0          11
  10/03/23      Sean Costello               Call with potential buyer re: process update and bid received                                                0.5              2
  10/05/23      Sean Costello               Review of sale process update materials                                                                      0.5              2
  10/05/23      Sean Costello               Working team executive call with A. Kroll re: case strategy                                                  1.0          11
  10/05/23      Sean Costello               Internal communications re: interested parties                                                               0.5          11
  10/06/23      Sean Costello               Call with D. Ninivaggi, A. Kroll re: case strategy                                                           0.5          11
  10/09/23      Sean Costello               Call with potential bidder re: proposal discussion                                                           0.5              2
  10/10/23      Sean Costello               Call with potential bidder re: assets of interest                                                            0.5              2
  10/15/23      Sean Costello               Call with potential buyer re: opportunity to participate in the process                                      0.5              2
  10/18/23      Sean Costello               Sale hearing                                                                                                 1.0              1
                October 1, 2023 - October 31, 2023 Hours for Sean Costello                                                                               6.5


  10/01/23      Jeffrey Finger              Review of court docket re: notice of selection of successful bidder                                          0.5              1
  10/01/23      Jeffrey Finger              Review of Company's public filings                                                                           0.5              1
  10/02/23      Jeffrey Finger              Working team executive call with D. Ninivaggi, A. Kroll, E. Hightower re: case strategy                      1.0          11
  10/03/23      Jeffrey Finger              Call with potential buyer re: process update and bid received                                                0.5              2
  10/04/23      Jeffrey Finger              Review of court docket                                                                                       0.5              1
  10/04/23      Jeffrey Finger              Discussion with equity holders                                                                               1.5              1
  10/05/23      Jeffrey Finger              Review of sale process update materials                                                                      0.5              2
  10/05/23      Jeffrey Finger              Working team executive call with A. Kroll re: case strategy                                                  1.0          11
  10/06/23      Jeffrey Finger              Review of draft sale declaration                                                                             1.0              1
  10/06/23      Jeffrey Finger              Call with D. Ninivaggi, A. Kroll re: case strategy                                                           0.5          11
  10/07/23      Jeffrey Finger              Review of draft sale declaration                                                                             1.0              1
  10/09/23      Jeffrey Finger              Call with potential bidder re: proposal discussion                                                           0.5              2
  10/10/23      Jeffrey Finger              Review of draft sale declaration                                                                             0.5              1
  10/10/23      Jeffrey Finger              Call with potential bidder re: assets of interest                                                            0.5              2
  10/11/23      Jeffrey Finger              Review of draft sale declaration                                                                             0.5              1
  10/12/23      Jeffrey Finger              Internal catch-up call with R. Hamilton, K. Lisanti, L. Hultgren re: claims                                  0.5          11
  10/15/23      Jeffrey Finger              Call with potential buyer re: opportunity to participate in the process                                      0.5              2
  10/17/23      Jeffrey Finger              Meeting with Lordstown Board of Directors                                                                    1.0          11
  10/18/23      Jeffrey Finger              Sale hearing                                                                                                 1.0              1
  10/25/23      Jeffrey Finger              Review of court docket re: amended plan                                                                      0.5              7
  10/27/23      Jeffrey Finger              Review of Company's public filings                                                                           0.5              1
  10/30/23      Jeffrey Finger              Review of court docket re: modified plan                                                                     0.5              7
  10/31/23      Jeffrey Finger              Disclosure Statement Hearing                                                                                 1.0              1
                October 1, 2023 - October 31, 2023 Hours for Jeffrey Finger                                                                             16.0
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     Date       Banker                                                                                         Comments                               Hours     Category


  10/02/23      Ryan Hamilton              Working team executive call with D. Ninivaggi, A. Kroll, E. Hightower re: case strategy                        1.0          11
  10/03/23      Ryan Hamilton              Call with potential buyer re: process update and bid received                                                  0.5              2
  10/04/23      Ryan Hamilton              Discussion with equity holders                                                                                 1.5              1
  10/04/23      Ryan Hamilton              Review of sale process outreach materials                                                                      1.0              2
  10/05/23      Ryan Hamilton              Review of sale process update materials                                                                        0.5              2
  10/05/23      Ryan Hamilton              Discussion with potential bidder                                                                               0.5              2
  10/05/23      Ryan Hamilton              Working team executive call with A. Kroll re: case strategy                                                    1.0          11
  10/06/23      Ryan Hamilton              Review of draft sale declaration                                                                               1.0              1
  10/06/23      Ryan Hamilton              Call with D. Ninivaggi, A. Kroll re: case strategy                                                             0.5          11
  10/07/23      Ryan Hamilton              Review of draft sale declaration                                                                               0.5              1
  10/09/23      Ryan Hamilton              Call with potential bidder re: proposal discussion                                                             0.5              2
  10/10/23      Ryan Hamilton              Review of draft sale declaration                                                                               1.0              1
  10/10/23      Ryan Hamilton              Call with potential bidder re: assets of interest                                                              0.5              2
  10/11/23      Ryan Hamilton              Review of draft sale declaration                                                                               1.0              1
  10/12/23      Ryan Hamilton              Communications with White & Case re: plan of reorganization                                                    0.5              7
  10/12/23      Ryan Hamilton              Internal catch-up call with J. Finger, K. Lisanti, L. Hultgren re: claims                                      0.5          11
  10/15/23      Ryan Hamilton              Call with potential bidder re: opportunity to participate in the process                                       0.5              2
  10/16/23      Ryan Hamilton              Call with LAS Capital re: purchased assets                                                                     1.0              2
  10/17/23      Ryan Hamilton              Prepare for sale hearing                                                                                       2.0              1
  10/17/23      Ryan Hamilton              Discussion with White & Case (D. Turetsky, J. Zakia) re: sale hearing                                          0.5              1
  10/17/23      Ryan Hamilton              Discussion with UCC Advisors re: modifications to Burns proposal                                               0.5              2
  10/17/23      Ryan Hamilton              Prepare for meeting with Board of Directors                                                                    0.5          11
  10/17/23      Ryan Hamilton              Meeting with Lordstown Board of Directors                                                                      1.0          11
  10/18/23      Ryan Hamilton              Sale hearing                                                                                                   1.0              1
  10/19/23      Ryan Hamilton              Internal catch-up call with K. Lisanti, L. Hultgren re: plan and disclosure statement                          0.5          11
  10/25/23      Ryan Hamilton              Review of court docket re: amended plan                                                                        0.5              7
  10/30/23      Ryan Hamilton              Review of court docket re: modified plan                                                                       0.5              7
  10/31/23      Ryan Hamilton              Disclosure Statement Hearing                                                                                   1.0              1
                October 1, 2023 - October 31, 2023 Hours for Ryan Hamilton                                                                               21.5
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     Date       Banker                                                                                          Comments                                Hours     Category


  10/02/23      Kevin Lisanti               Review of Company's public filings                                                                              0.5              1
  10/02/23      Kevin Lisanti               Working team executive call with D. Ninivaggi, A. Kroll, E. Hightower re: case strategy                         1.0          11
  10/03/23      Kevin Lisanti               Call with potential buyer re: process update and bid received                                                   0.5              2
  10/04/23      Kevin Lisanti               Review of sale process outreach materials                                                                       0.5              2
  10/04/23      Kevin Lisanti               Prepare outreach update materials                                                                               1.5              2
  10/05/23      Kevin Lisanti               Review of sale process update materials                                                                         0.5              2
  10/05/23      Kevin Lisanti               Working team executive call with A. Kroll re: case strategy                                                     1.0          11
  10/06/23      Kevin Lisanti               Review of draft sale declaration                                                                                1.0              1
  10/06/23      Kevin Lisanti               Call with D. Ninivaggi, A. Kroll re: case strategy                                                              0.5          11
  10/07/23      Kevin Lisanti               Review of draft sale declaration                                                                                0.5              1
  10/09/23      Kevin Lisanti               Call with potential bidder re: proposal discussion                                                              0.5              2
  10/10/23      Kevin Lisanti               Review of draft sale declaration                                                                                1.0              1
  10/10/23      Kevin Lisanti               Call with potential bidder re: assets of interest                                                               0.5              2
  10/12/23      Kevin Lisanti               Review of public information re: Lordstown market cap                                                           0.5              1
  10/12/23      Kevin Lisanti               Prepare materials re: active party status update                                                                0.5              2
  10/12/23      Kevin Lisanti               Internal catch-up call with J. Finger, R. Hamilton, L. Hultgren re: claims                                      0.5          11
  10/13/23      Kevin Lisanti               Review of draft sale declaration                                                                                0.5              2
  10/15/23      Kevin Lisanti               Call with potential buyer re: opportunity to participate in the process                                         0.5              2
  10/18/23      Kevin Lisanti               Sale hearing                                                                                                    1.0              1
  10/19/23      Kevin Lisanti               Internal catch-up call with R. Hamilton, L. Hultgren re: plan and disclosure statement                          0.5          11
  10/31/23      Kevin Lisanti               Disclosure Statement Hearing                                                                                    1.0              1
                October 1, 2023 - October 31, 2023 Hours for Kevin Lisanti                                                                                 14.5


  10/02/23      Kelly Pasekoff              Working team executive call with D. Ninivaggi, A. Kroll, E. Hightower re: case strategy                         1.0          11
  10/03/23      Kelly Pasekoff              Call with potential buyer re: process update and bid received                                                   0.5              2
  10/05/23      Kelly Pasekoff              Working team executive call with A. Kroll re: case strategy                                                     1.0          11
  10/06/23      Kelly Pasekoff              Call with D. Ninivaggi, A. Kroll re: case strategy                                                              0.5          11
  10/09/23      Kelly Pasekoff              Call with potential bidder re: proposal discussion                                                              0.5              2
  10/10/23      Kelly Pasekoff              Call with potential bidder re: assets of interest                                                               0.5              2
  10/12/23      Kelly Pasekoff              Review materials re: active party status update                                                                 0.5              2
  10/12/23      Kelly Pasekoff              Internal communications re: potential buyer feedback                                                            0.5              2
  10/15/23      Kelly Pasekoff              Call with potential buyer re: opportunity to participate in the process                                         0.5              2
  10/18/23      Kelly Pasekoff              Sale hearing                                                                                                    1.0              1
                October 1, 2023 - October 31, 2023 Hours for Kelly Pasekoff                                                                                 6.5
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     Date       Banker                                                                                         Comments                               Hours     Category


  10/01/23      Lars Hultgren              Review of court docket re: notice of selection of successful bidder                                            0.5              1
  10/02/23      Lars Hultgren              Review of Company's public filings                                                                             0.5              1
  10/02/23      Lars Hultgren              Provide process update to potential buyers                                                                     2.0              2
  10/02/23      Lars Hultgren              Working team executive call with D. Ninivaggi, A. Kroll, E. Hightower re: case strategy                        1.0          11
  10/03/23      Lars Hultgren              Call with potential buyer re: process update and bid received                                                  0.5              2
  10/03/23      Lars Hultgren              Conversation with potential buyer re: public filings                                                           0.5              2
  10/03/23      Lars Hultgren              Update sale process contact log                                                                                0.5              2
  10/04/23      Lars Hultgren              Review and prepare sale process outreach materials                                                             1.5              2
  10/04/23      Lars Hultgren              Provide process update to potential buyers                                                                     0.5              2
  10/04/23      Lars Hultgren              Communications re: buyer NDAs                                                                                  0.5              2
  10/05/23      Lars Hultgren              Omnibus hearing                                                                                                1.0              1
  10/05/23      Lars Hultgren              Review of sale process update materials                                                                        1.0              2
  10/05/23      Lars Hultgren              Working team executive call with A. Kroll re: case strategy                                                    1.0          11
  10/06/23      Lars Hultgren              Review of draft sale declaration                                                                               2.0              1
  10/06/23      Lars Hultgren              Review of court docket re: notice of selection of successful bidder                                            0.5              1
  10/06/23      Lars Hultgren              Review of bids received                                                                                        1.5              2
  10/06/23      Lars Hultgren              Call with D. Ninivaggi, A. Kroll re: case strategy                                                             0.5          11
  10/07/23      Lars Hultgren              Review of draft sale declaration                                                                               1.0              1
  10/09/23      Lars Hultgren              Call with potential bidder re: proposal discussion                                                             0.5              2
  10/09/23      Lars Hultgren              Communications with White & Case re: Company contracts                                                         0.5              2
  10/10/23      Lars Hultgren              Review of draft sale declaration                                                                               1.0              1
  10/10/23      Lars Hultgren              Call with potential bidder re: assets of interest                                                              0.5              2
  10/10/23      Lars Hultgren              Monitor sale process VDR                                                                                       0.5              2
  10/10/23      Lars Hultgren              Communications with potential buyers re: assets of interest                                                    0.5              2
  10/11/23      Lars Hultgren              Communications with interested party re: site visit                                                            1.0              2
  10/12/23      Lars Hultgren              Review of public information re: Lordstown market cap                                                          1.0              1
  10/12/23      Lars Hultgren              Prepare materials re: active party status update                                                               1.0              2
  10/12/23      Lars Hultgren              Update sale process contact log                                                                                0.5              2
  10/12/23      Lars Hultgren              Review and manage sale process VDR                                                                             0.5              2
  10/12/23      Lars Hultgren              Review of Lordstown market cap and stock price                                                                 1.0              9
  10/12/23      Lars Hultgren              Internal catch-up call with J. Finger, R. Hamilton, K. Lisanti re: claims                                      0.5          11
  10/14/23      Lars Hultgren              Review of draft sale declaration                                                                               0.5              2
  10/15/23      Lars Hultgren              Call with potential buyer re: opportunity to participate in the process                                        0.5              2
  10/16/23      Lars Hultgren              Manage sale process VDR                                                                                        0.5              2
  10/16/23      Lars Hultgren              Review of draft sale declaration                                                                               0.5              2
  10/17/23      Lars Hultgren              Communications with potential buyer re: NDA                                                                    0.5              2
  10/18/23      Lars Hultgren              Sale hearing                                                                                                   1.0              1
  10/18/23      Lars Hultgren              Review court docket re: sale order                                                                             0.5              1
  10/18/23      Lars Hultgren              Manage buyer VDR                                                                                               0.5              2
  10/19/23      Lars Hultgren              Internal catch-up call with R. Hamilton, K. Lisanti re: plan and disclosure statement                          0.5          11
  10/25/23      Lars Hultgren              Manage buyer VDR                                                                                               0.5              2
  10/25/23      Lars Hultgren              Review of court docket re: amended plan                                                                        1.0              7
  10/27/23      Lars Hultgren              Review of Company's public filings                                                                             0.5              1
  10/30/23      Lars Hultgren              Review of court docket re: modified plan                                                                       1.0              7
  10/31/23      Lars Hultgren              Disclosure Statement Hearing                                                                                   1.0              1
                October 1, 2023 - October 31, 2023 Hours for Lars Hultgren                                                                               34.5
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     Date       Banker                                                                                        Comments                            Hours     Category


  11/01/23      Jeffrey Finger             Review fee application                                                                                     1.0              1
  11/14/23      Jeffrey Finger             Review fee application                                                                                     0.5              1
  11/16/23      Jeffrey Finger             Discussion with W&C re: plan confirmation                                                                  0.5          11
  11/29/23      Jeffrey Finger             Review analysis and similar cases re: plan confirmation                                                    1.0          11
  11/30/23      Jeffrey Finger             Review fee application                                                                                     0.5              1
                November 1, 2023 - November 30, 2023 Hours for Jeffrey Finger                                                                         3.5


  11/01/23      Ryan Hamilton              Prepare fee application                                                                                    0.5              1
  11/03/23      Ryan Hamilton              Discussion with K. Lisanti and L. Hultgren re: sale outcome                                                0.5          11
  11/09/23      Ryan Hamilton              Prepare fee application                                                                                    0.5              1
  11/10/23      Ryan Hamilton              Prepare fee application                                                                                    0.5              1
  11/10/23      Ryan Hamilton              Discussion with L. Hultgren re: fee application                                                            0.5              1
  11/15/23      Ryan Hamilton              Prepare fee application                                                                                    0.5              1
  11/16/23      Ryan Hamilton              Discussion with W&C re: plan confirmation                                                                  0.5          11
  11/27/23      Ryan Hamilton              Discussion with K. Lisanti and L. Hultgren re: plan confirmation                                           0.5          11
  11/28/23      Ryan Hamilton              Review similar cases and confirmed plans                                                                   1.0          11
  11/29/23      Ryan Hamilton              Review analysis and similar cases re: plan confirmation                                                    0.5          11
  11/29/23      Ryan Hamilton              Analysis re: confirmation                                                                                  1.0          11
  11/30/23      Ryan Hamilton              Review fee application                                                                                     0.5              1
                November 1, 2023 - November 30, 2023 Hours for Ryan Hamilton                                                                          7.0


  11/01/23      Kevin Lisanti              Prepare fee application                                                                                    1.0              1
  11/01/23      Kevin Lisanti              Review of sale order and APA                                                                               0.5              2
  11/03/23      Kevin Lisanti              Discussion with R. Hamilton and L. Hultgren re: sale outcome                                               0.5          11
  11/08/23      Kevin Lisanti              Communication with LAS Capital re: assets                                                                  0.5              2
  11/09/23      Kevin Lisanti              Review fee application                                                                                     0.5              1
  11/10/23      Kevin Lisanti              Prepare fee application                                                                                    1.0              1
  11/16/23      Kevin Lisanti              Discussion with W&C re: plan confirmation                                                                  0.5          11
  11/16/23      Kevin Lisanti              Prepare fee application                                                                                    0.5          11
  11/21/23      Kevin Lisanti              Discussion with L. Hultgren re: fee application                                                            0.5          11
  11/27/23      Kevin Lisanti              Discussion with R. Hamilton and L. Hultgren re: plan confirmation                                          0.5          11
  11/27/23      Kevin Lisanti              Review similar cases and confirmed plans                                                                   1.0          11
  11/28/23      Kevin Lisanti              Analysis re: confirmation                                                                                  2.0          11
  11/29/23      Kevin Lisanti              Discussion with R. Hamilton and L. Hultgren re: plan confirmation                                          0.5          11
  11/30/23      Kevin Lisanti              Review fee application                                                                                     0.5              1
                November 1, 2023 - November 30, 2023 Hours for Kevin Lisanti                                                                         10.0


  11/01/23      Lars Hultgren              Prepare fee application                                                                                    1.0              1
  11/01/23      Lars Hultgren              Review of sale order and APA                                                                               0.5              2
  11/02/23      Lars Hultgren              Prepare fee application                                                                                    1.0              1
  11/03/23      Lars Hultgren              Discussion with R. Hamilton and K. Lisanti re: sale outcome                                                0.5          11
  11/07/23      Lars Hultgren              Dataroom management                                                                                        0.5              2
  11/08/23      Lars Hultgren              Dataroom management                                                                                        0.5              2
  11/10/23      Lars Hultgren              Discussion with R. Hamilton re: fee application                                                            0.5              1
  11/10/23      Lars Hultgren              Communications with S. Ruben re: fee application                                                           0.5              1
  11/10/23      Lars Hultgren              Prepare fee application                                                                                    1.0              1
  11/24/23      Lars Hultgren              Prepare fee application                                                                                    0.5              1
  11/16/23      Lars Hultgren              Discussion with W&C re: plan confirmation                                                                  0.5          11
  11/21/23      Lars Hultgren              Discussion with K. Lisanti re: fee application                                                             0.5          11
  11/24/23      Lars Hultgren              Prepare fee application                                                                                    0.5              1
  11/27/23      Lars Hultgren              Communications with W&C re: confirmation                                                                   0.5          11
  11/27/23      Lars Hultgren              Discussion with R. Hamilton and K. Lisanti re: plan confirmation                                           0.5          11
  11/27/23      Lars Hultgren              Review similar cases and confirmed plans                                                                   2.0          11
  11/28/23      Lars Hultgren              Analysis re: confirmation                                                                                  1.5          11
  11/29/23      Lars Hultgren              Analysis re: confirmation                                                                                  0.5          11
  11/29/23      Lars Hultgren              Discussion with R. Hamilton and K. Lisanti re: plan confirmation                                           0.5          11
  11/30/23      Lars Hultgren              Review fee application                                                                                     1.0              1
                November 1, 2023 - November 30, 2023 Hours for Lars Hultgren                                                                         14.5
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     Date       Banker                                                                                    Comments                            Hours     Category


  12/08/23      Jeffrey Finger             Internal discussion re: interim fee app                                                                0.5              1
  12/08/23      Jeffrey Finger             Communications with T. Labuda re: interim fee app                                                      0.5              1
  12/11/23      Jeffrey Finger             Internal discussion re: interim fee app                                                                0.5              1
  12/11/23      Jeffrey Finger             Communications with S. Ruben re: interim fee app                                                       0.5              1
  12/12/23      Jeffrey Finger             Internal communications re: fee app                                                                    0.5              1
  12/21/23      Jeffrey Finger             Review and prepare fee application                                                                     0.5              1
  12/31/23      Jeffrey Finger             Internal communications with L. Hultgren re: fee application                                           0.5              1
                December 1, 2023 - December 31, 2023 Hours for Jeffrey Finger                                                                     3.5


  12/04/23      Ryan Hamilton              Review of similar cases re: confirmation                                                               1.5          11
  12/05/23      Ryan Hamilton              Discussion with K. Lisanti and L. Hultgren re: confirmation                                            0.5          11
  12/07/23      Ryan Hamilton              Communications with T. Labuda re: interim fee app                                                      0.5              1
  12/08/23      Ryan Hamilton              Internal discussion re: interim fee app                                                                0.5              1
  12/11/23      Ryan Hamilton              Internal discussion re: interim fee app                                                                0.5              1
  12/11/23      Ryan Hamilton              Analysis re: confirmation                                                                              1.0          11
  12/12/23      Ryan Hamilton              Internal communications re: fee app                                                                    0.5              1
  12/16/23      Ryan Hamilton              Communications with J. Zakia and W&C re: plan confirmation                                             0.5              1
  12/21/23      Ryan Hamilton              Review and prepare fee application                                                                     0.5              1
                December 1, 2023 - December 31, 2023 Hours for Ryan Hamilton                                                                      6.0


  12/04/23      Kevin Lisanti              Analysis re: confirmation                                                                              2.0          11
  12/04/23      Kevin Lisanti              Discussion with L. Hultgren re: plan confirmation                                                      0.5          11
  12/05/23      Kevin Lisanti              Analysis re: confirmation                                                                              2.0          11
  12/05/23      Kevin Lisanti              Discussion with R. Hamilton and L. Hultgren re: confirmation                                           0.5          11
  12/07/23      Kevin Lisanti              Analysis re: confirmation                                                                              3.0          11
  12/08/23      Kevin Lisanti              Internal discussion re: interim fee app                                                                0.5              1
  12/11/23      Kevin Lisanti              Internal discussion re: interim fee app                                                                0.5              1
  12/11/23      Kevin Lisanti              Analysis re: confirmation                                                                              3.0          11
  12/14/23      Kevin Lisanti              Discussion with L. Hultgren re: plan confirmation                                                      0.5          11
  12/21/23      Kevin Lisanti              Review and prepare fee application                                                                     0.5              1
                December 1, 2023 - December 31, 2023 Hours for Kevin Lisanti                                                                     13.0


  12/01/23      Lars Hultgren              Read court docket re: plan supplement                                                                  0.5              1
  12/01/23      Lars Hultgren              Analysis re: confirmation                                                                              6.0          11
  12/04/23      Lars Hultgren              Discussion with K. Lisanti re: plan confirmation                                                       0.5          11
  12/04/23      Lars Hultgren              Review of similar cases re: plan confirmation                                                          2.0          11
  12/04/23      Lars Hultgren              Analysis re: confirmation                                                                              1.0          11
  12/05/23      Lars Hultgren              Discussion with R. Hamilton and K. Lisanti re: confirmation                                            0.5          11
  12/05/23      Lars Hultgren              Analysis re: confirmation                                                                              4.0          11
  12/08/23      Lars Hultgren              Internal discussion re: interim fee app                                                                0.5              1
  12/11/23      Lars Hultgren              Internal discussion re: interim fee app                                                                0.5              1
  12/12/23      Lars Hultgren              Internal communications re: fee app                                                                    0.5              1
  12/14/23      Lars Hultgren              Analysis re: confirmation                                                                              2.5          11
  12/14/23      Lars Hultgren              Discussion with K. Lisanti re: plan confirmation                                                       0.5          11
  12/19/23      Lars Hultgren              Communications with S. Ruben re: fee application                                                       0.5              1
  12/21/23      Lars Hultgren              Communications with S. Ruben re: fee application                                                       0.5              1
  12/21/23      Lars Hultgren              Prepare fee application                                                                                0.5              1
  12/27/23      Lars Hultgren              Communications with S. Ruben re: transaction fee                                                       0.5              1
  12/29/23      Lars Hultgren              Prepare fee application                                                                                0.5              1
  12/31/23      Lars Hultgren              Internal communications with J. Finger re: fee application                                             0.5              1
                December 1, 2023 - December 31, 2023 Hours for Lars Hultgren                                                                     22.0
